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United States District Court
WESTERN DISTRICT oF TENNESSEE
Eastern Division

 

JUDGMENT IN A CIVIL CASE

RUSSELL WELLINGTON,
v.

C.O. MANESS, et al., CASE NUMBER: 1204-1331-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 6/21/2005, this case is hereby DlS|Vl|SSED and
CERT|FY|NG that any Appeal by plaintiff is not taken in good faith. lt is further
REAFF|R|V||NG previous sanctions and l|\/|POS|NG further sanctions

 

 

 

APPRo\/ED;
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ED STATES DISTRICT JUDGE
THOMAS M. GoULD
CLERK
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DATE DEPUTY CLE‘I€K

This document entered on the docket sheet in compliance

/ .
with Rule 58 and/or 79(3) FRCP on U f f_;> m 05 . \\

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:04-CV-01331 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Russell Wellington

122766

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Honorable J ames Todd
US DISTRICT COURT

